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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                           :
IN RE: PHILIPS RECALLED CPAP,              :    Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL               :
VENTILATOR PRODUCTS                        :    MDL No. 3014
LITIGATION                                 :
                                           :
This Document Relates to:                  :
                                           :
Consolidated Second Amended Class          :
Action Complaint for Medical Monitoring    :
and Demand for Jury Trial (ECF No. 815)    :
                                           :


      [PROPOSED] ORDER GRANTING PHILIPS RS NORTH AMERICA LLC’S
                   MOTION FOR LEAVE TO FILE REPLY


       AND NOW, this __________ day of _______________, 2024, upon consideration of

Philips RS North America LLC’s Motion for Leave to File Reply in Support of its Objections to

Special Discovery Master’s Report and Recommendation and Proposed Order re: Discovery of

Medical Monitoring Plaintiffs’ Medical Histories and Previous Exposures to Hazardous

Substances (the “Motion for Leave to File Reply”), it is HEREBY ORDERED that the Motion

for Leave to File Reply is GRANTED.



                                                  ____________________________________
                                                  HONORABLE JOY FLOWERS CONTI
                                                  Senior United States District Judge
